     Case 2:18-cv-02994-SJO-RAO Document 17 Filed 07/02/18 Page 1 of 3 Page ID #:96



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10
      Attorneys for Plaintiff
11                        UNITED STATES DISTRICT COURT
12                      CENTRAL DISTRICT OF CALIFORNIA
13    MIGUEL NAPOLES, individually                  ) Case No. 2:18-cv-02994-SJO-RAO
14
      and on behalf of all others similarly         )
      situated,
                                                    ) NOTICE OF SETTLEMENT
15
      Plaintiff,                                    )
16
            vs.                                     )
17
                                                    )
      DENT-A-MED, INC.,                             )
18                                                  )
      Defendant.
19                                                  )
                                                    )
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                                                    )
21                                                  )
22
            NOW COMES THE PLAINTIFF by and through his attorney to
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      respectfully notify this Honorable Court that the parties have reached a settlement
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      in principle and are currently preparing a settlement agreement. Plaintiff, with
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      Defendant’s consent and agreement, requests that this Honorable Court vacate all
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      pending deadlines and hearings and allow thirty (30) days within which to file
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      dispositive documentation, including a Joint Stipulation of Dismissal. This Court
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      shall retain jurisdiction over this matter until fully resolved.


                                         Notice of Settlement - 1
     Case 2:18-cv-02994-SJO-RAO Document 17 Filed 07/02/18 Page 2 of 3 Page ID #:97



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                       Respectfully submitted this 2nd Day of July, 2018.
2                                       By: s/Todd M. Friedman
3                                          TODD M. FRIEDMAN
                                           Law Offices of Todd M. Friedman, P.C.
4
                                           Attorney for Plaintiff
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                                    Notice of Settlement - 2
     Case 2:18-cv-02994-SJO-RAO Document 17 Filed 07/02/18 Page 3 of 3 Page ID #:98



1
      Filed electronically on this 2nd Day of July, 2018, with:
2

3     United States District Court CM/ECF system
4
      Notification sent electronically via the Court’s ECF system to:
5

6
      Honorable S. James Otero
      United States District Court
7     Central District of California
8
      And all Counsel of Record on the electronic service list.
9

10

11
      This 2nd Day of July, 2018.

12
      s/Todd M. Friedman
13    Todd M. Friedman
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                                       Notice of Settlement - 3
